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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA


                             Alexandria Division



  BELMORA, LLC.,



        Plaintiff,

  V.                                   Civil Action No. 1:14-cv-00847


  BAYER CONSUMER CARE AG,
  et al.,

        Defendants-Consolidated
        Plaintiffs,

  V,



  BELMORA, LLC, JAMIE BELCASTRO,
  & DOES 1-10, INCLUSIVE,
  et al.,



        Consolidated Defendants.




                             MEMORANDUM OPINION


        THIS    MATTER    comes    before    the      Court   on     Plaintiff-


  Consolidated Defendant Belmora's Motion for Summary Judgment and

  Defendant-Consolidated      Plaintiff     Bayer's    Motion      for   Summary

  Judgment.

        This case arises from Bayer's claims that Belmora's FLANAX

  trademark should be cancelled because Belmora deceived customers


  into thinking that its FLANAX brand of pain relief medicine is

  the same     FLANAX brand under which Bayer has sold pain relief
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